Case 20-12260-amc      Doc 38   Filed 08/19/20 Entered 08/19/20 09:35:44     Desc Main
                                Document     Page 1 of 2




   IN THE UNITED STATES BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF
                             PENNSYLVANIA

                                  CIVIL ACTION - LAW

IN RE: TBS VENTURE, INC.                        :      Case No. 20-12260-amc
                                                :
Debtor in Possession                            :


                     NOTICE OF MOTION, RESPONSE DEADLINE
                              AND HEARING DATE

      Creditor, Kelsey Gibson, has filed a Motion with the court for relief from the

automatic stay.

      1.     Your rights may be affected. You should read these papers carefully

and discuss them with your attorney, if you have one in this bankruptcy case. (If

you do not have an attorney, you may wish to consult an attorney).

      2.     If you do not want the court to grant the relief sought in the Motion or if

you want the court to consider your views on the Motion, then on or before SEPTEMBER

16, 2020, you or your attorney must file a response to the Motion. (see Instructions

below).

      3.     A hearing on the Motion is scheduled to be held on SEPTEMBER 16,

2020 at 12:30 p.m. in Courtroom Nix-4, United States Bankruptcy Court, 900 Market

Street, Philadelphia, PA 19107, before the Honorable Judge Ashely M. Chan.

      4.     If you do not file a response to the Motion, the court may cancel the

hearing and enter an order granting the relief requested in the Motion.

      5.     You may contact the Bankruptcy Clerk’s office for Philadelphia cases at

(215) 408-2800 and for Reading cases at (610) 208-5040 to find out whether the hearing

has been canceled because no one filed a response.
Case 20-12260-amc       Doc 38   Filed 08/19/20 Entered 08/19/20 09:35:44      Desc Main
                                 Document     Page 2 of 2



      6.     If a copy of the Motion is not enclosed, a copy of the Motion will be provided

to you if you request a copy from the attorney whose name and address is listed in

paragraph 10 below.

                                   Filing Instructions

      7.     If you are required to file documents electronically by Local

Bankruptcy Rule 5005-1, you must file your response electronically.

      8.     If you are not required to file electronically, you must file your response

at:

                             United States Bankruptcy Court
                             Eastern District of Pennsylvania
                              900 Market Street, Suite 400
                                 Philadelphia, PA 19107

      9.     If you mail your response to the Bankruptcy Clerk’s office for filing, you

must mail it early enough so that it will be received on or before the date stated in

Paragraph 2 above.

      10.    On the same day that you file or mail your response to the Motion, you must

mail or deliver a copy of the Response to Movant’s attorney:

                     Mark K. Altemose, Esquire
                     Cohen Feeley Altemose & Rambo
                     2851 Baglyos Circle, Suite 200
                     Bethlehem, PA 18020
                     Phone: 610-625-2100
                     Fax: 610-332-2722
                     Email: maltemose@cohenfeeley.com




Date: August 19, 2020
